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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                                                In Proceedings
                                                                                      Under Chapter 13
PHYLLIS MARIE MORRISON

                                                                                      Case No. 21-30886
                 Debtor(s).

                                                       ORDER

         THIS MATTER is before the Court on the Debtor’s Motion to Approve

Settlement/Compromise Controversy (Doc. 69). The Trustee having withdrawn his objection1,

IT IS ORDERED that the Motion is GRANTED and the settlement of debtor’s personal injury

claim arising from a November 7, 2019 auto accident as set forth in the Motion is APPROVED.

         Counsel for the moving party shall serve a copy of this Order by mail to all interested

parties who were not served electronically.


ENTERED: February 24, 2023
                                                          /s/ Laura K. Grandy
                                           __________________________________________________________________________________________

                                            UNITED STATES BANKRUPTCY JUDGE/3




1
 The Trustee’s objection was withdrawn pursuant to the agreed order entered February 24, 2023 resolving the
Debtor’s Motion to Retain Settlement Proceeds.
